                                                                                                 Entered on Docket
                                                                                                 June 24, 2020
                                                                                                 EDWARD J. EMMONS, CLERK
                                                                                                 U.S. BANKRUPTCY COURT
                                                                                                 NORTHERN DISTRICT OF CALIFORNIA



                                             1                                                     Signed and Filed: June 23, 2020

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                                                                                                   ________________________________________
                                                                                                   DENNIS MONTALI
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                                                                                                   U.S. Bankruptcy Judge
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                                             8                                 UNITED STATES BANKRUPTCY COURT
                                             9                                 NORTHERN DISTRICT OF CALIFORNIA
                                            10
UNITED STATES BANKRUPTCY COURT




                                                 In re:                                                )   Bankruptcy Case
  for the Northern District of California




                                            11
                                                                                                       )   No. 19-30088-DM
                                            12   PG&E CORPORATION,                                     )
                                                                                                       )   Chapter 11
                                            13            - and -                                      )
                                                                                                       )   Jointly Administered
                                            14
                                                 PACIFIC GAS AND ELECTRIC COMPANY,                     )
                                            15                                                         )
                                                                    Debtors.                           )
                                            16                                                         )
                                            17   ☐ Affects PG&E Corporation                            )
                                                 ☐ Affects Pacific Gas and Electric Company            )
                                                 ☒ Affects both Debtors
                                            18                                                         )
                                                                                                       )
                                            19                                                         )
                                                 * All papers shall be filed in the Lead Case, No.
                                            20                                                         )
                                                 19-30088 (DM).
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                                            21                                                         )
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                                            22                                                         )
                                            23                         ORDER REGARDING OBJECTIONS TO EXHIBITS
                                            24            Debtors and other parties filed several exhibits in preparation for the confirmation trial
                                            25   in these cases. In turn, several parties filed objections to those exhibits. As the court has
                                            26   already iterated in a prior order (dkt. #7662), all exhibits are admitted into evidence unless they
                                            27   are objected to.
                                            28            The two parties that filed objections to exhibits are Debtors and the Tort Claimants
                                               Committee. The court has reviewed both parties’ objections. Both parties objected to exhibits
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                                             1   submitted by GER Hospitality, and the court will sustain the objection to one of GER
                                             2   Hospitality’s exhibits, namely item 21 in GER Hospitality’s Exhibit List (dkt. #7411): the
                                             3   declaration of Eric Lowrey in Support of Objection by Certain Fire Victims, because it lacks
                                             4   relevance, is hearsay, and is being inappropriately offered on behalf of an unqualified expert.
                                             5   See Fed. R. Evid. 401, 702, 802.
                                             6          The court also sustains Debtors’ objections to Patricia Garrison’s Exhibit 4 (dkt. #7562):
                                             7   an article titled “Klarman’s Baupost Poised to Cash in on PG&E Insurance Bet,” Wall Street
                                             8   Journal, Sept. 13, 2019, due to a lack of relevance. Fed. R. Evid. 401. Debtors also objected to
                                             9   Creditor William Abrams’ exhibits (dkt. #7500) and the courts sustains the objections to
                                            10   exhibits 6-11, as they are again news articles that lack relevance.
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  for the Northern District of California




                                            11          As to the remainder of the objections, to the extent they have not already been dealt
                                            12   with, the court overrules them. The court notes that some of Debtors’ objections relate to
                                            13   timeliness, but nevertheless admits the relevant exhibits submitted by the Securities Lead
                                            14   Plaintiffs (dkt. #7595).
                                            15          The court also notes that several objections have been filed regarding the cure amounts
                                            16   for executory contracts, which issue has been set aside to be reviewed at a later date. Those
                                            17   exhibits and objections are not dealt with in this order.
                                            18                                      *** END OF ORDER ***
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                                             1                                COURT SERVICE LIST
                                                 William B. Abrams
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                                                 1519 Branch Owl Place
                                             3   Santa Rosa, CA, 95409

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UNITED STATES BANKRUPTCY COURT
  for the Northern District of California




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